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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

 PAL TIGERT,                                        §
                                                    §
        Plaintiff.                                  §
 vs.                                                §
                                                    §    Civil Action No. 2:20-cv-00005-RG
 TYRONE ROGERS, in his individual                   §
 capacity, MOISES RODRIGUEZ, in his                 §
 individual capacity and JUDY PEREZ,                §
 in her individual capacity,                        §    JURY DEMANDED
                                                    §
        Defendants.                                 §

                             ORDER GRANTING JOINT MOTION
                            TO DISMISS CASE WITH PREJUDICE

        ON THIS DAY, the Court considered the Joint Motion to Dismiss filed by Pal Tigert,

 Plaintiff, and Tyrone Rogers, Moises Rodriguez and Judy Perez, Defendants.                After due

 consideration of said Joint Motion, the Court finds the Joint Motion is well taken. It is, therefore,

        ORDERED that all claims and causes of action filed by Plaintiff against Defendants are

 hereby dismissed with prejudice. It is, further,

        ORDERED that each party shall bear their own attorney fees, court costs and expenses.
